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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION


UNITRIN AUTO AND HOME INSURANCE     *
COMPANY,
                                    *
          Plaintiff,
                                    *
                                        CASE NO. 4:17-CV-00240-CDL
v.                                  *

KENDALL COCHRAN and RICHARD         *
GRIBBINS,
                                    *
          Defendants.



            IMPORTANT NOTICE REGARDING ELECTRONIC FILING

     If you received this Order by mail, you are not in compliance
with the Court’s electronic filing policy.          In order to
electronically file documents with our court, you will need to
register with our court by completing the electronic registration
form available on our website, www.gamd.uscourts.gov (see the
CM/ECF page for specific information on the electronic filing
requirements).

         IMPORTANT NOTICE REGARDING ELECTRONIC TRANSMISSION
          OF PROPOSED ORDERS, INCLUDING SCHEDULING ORDERS

      Proposed scheduling orders must be emailed to the Clerk at
Columbus.ecf@gamd.uscourts.gov for Columbus Division cases and to
Athens.ecf@gamd.uscourts.gov for Athens Division cases, rather than
filed    electronically.    All   other   filings   shall  be  made
electronically through the CM/ECF system.       All proposed orders
(other than scheduling orders), in addition to being electronically
filed, should be e-mailed to the Clerk in word processing format
(not scanned) unless otherwise instructed by the Court.

     REQUEST FOR TEMPORARY STAY OF RULE 16/26 ORDER REQUIREMENTS

If a Motion to Dismiss and/or a Motion to Remand is presently
pending and the parties do not find it necessary to conduct
discovery to support or oppose this motion, the Court may stay
discovery pending its ruling on the motion.     Therefore, if the
parties seek a stay of discovery pending resolution of the motion,
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they should file a consent motion within fourteen days of the date
of this Order seeking such a stay; and thereby avoid the filing of
a Proposed Scheduling/Discovery Order at this time.


                           RULES 16 AND 26 ORDER

TO:     COUNSEL (OR PARTIES IF UNREPRESENTED BY COUNSEL):

        Your attention is directed to Rules 16 and 26 of the Federal

Rules of Civil Procedure and to this Court’s local rules.                         The

Local      Rules     are    available         on       the      Court’s      website

(www.gamd.uscourts.gov).


          PROPOSED SCHEDULING ORDER/REPORT GENERAL REQUIREMENTS

        Rules 16(b) and 26(f) require the parties to confer, develop a

proposed    discovery   plan,   and   submit       a   report   to   the   presiding

judge.     A scheduling order must then be entered.               You are directed

to confer within 30 days of the date of this Order to discuss the

contents and form of the Proposed Scheduling/Discovery Order.

        A joint report in the form of a single proposed scheduling

order is due for this case and must be electronically transmitted

to the Court via e-mail in word processing format (not scanned) at

Columbus.ecf@gamd.uscourts.gov for Columbus Division cases and to

Athens.ecf@gamd.uscourts.gov      for       Athens     Division   cases    no   later

than March 26, 2018.        If the parties cannot agree, the proposed

order shall state their differences and specify their respective

positions.     A party who cannot gain the cooperation of the other

party in preparing the proposed order should advise the Court prior




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to the due date of the proposed order of the other party’s failure

to cooperate.

        A    proposed      scheduling       order    shall   include     suggested     time

limits for items specified in Rule 16(b); the name and address of

every witness to be deposed, including the proposed time, date, and

place for each deposition; the estimated cost of all discovery,

including attorney’s fees; the name, address, and telephone number

of lead counsel for each party; the date the complaint was filed

and the date the complaint was answered.                     The proposed scheduling

order       may   also    include    such    other    matters   as    the    parties   deem

appropriate.         Below the signatures of counsel the proposed order

should include a date line and a signature line for the Court.                            A

copy of the proposed scheduling order must be served upon each

party.       The proposed scheduling order will be carefully considered

and, subject to such changes as may be deemed appropriate, either

adopted by the court or discussed with counsel in person or by

conference call.

                         NOTICE REGARDING SELF-REPRESENTATION

        Parties that are separate artificial legal entities, such as

corporations and limited liability companies, must be represented

by an attorney.             Palazzo v. Gulf Oil Corp. 764 F.2d 1381, 1385

(11th Cir. 1985); Nat’l Indep. Theatre Exhibitors, Inc. v. Buena

Vista       Distribution      Co.,    748    F.2d    602,    609     (11th   Cir.   1984).

Accordingly, any such parties who are not presently represented by




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counsel      should          secure       representation           expeditiously             to   avoid

sanctions, including possible default judgment and/or dismissal.

                                  SUBJECT MATTER JURISDICTION

       Subject matter jurisdiction cannot be waived, and the Eleventh

Circuit Court of Appeals has on occasion dismissed cases sua sponte

upon   learning         of    a    lack    of      diversity      while        the   cases    were     on

appeal—even though no party raised the issue before the appeal and

even though the cases were tried to final verdict and judgment.

See, e.g., Purchasing Power, LLC v. Bluestem Brands, Inc., No. 16-

11896,      2017     WL       1046103,        at    *7     (11th        Cir.    Mar.    20,       2017).

Therefore,         it        is     critical        that        diversity        jurisdiction         be

established         early         in    the      litigation,           particularly          in   cases

involving unincorporated associations, limited liability companies,

limited liability partnerships, partnerships, and similar entities

that are, for diversity purposes, citizens of every state in which

one of their members resides.                      E.g., id. at *1, (“When determining

citizenship of the parties for diversity jurisdiction purposes, a

limited liability company (LLC) is a citizen of every state that

any member is a citizen of.”).

       In    cases        where        subject      matter       jurisdiction          is    based     on

diversity of the parties, the parties shall state in the proposed

scheduling order the citizenship of each party.                                      If the parties

cannot      agree       on    the      citizenship         of    the     parties       without       some

discovery     on     the      issue,      they      shall       state    that    in    the    proposed

scheduling order.

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                                 DISCOVERY PERIOD

       It is the Court’s expectation that absent good cause shown all

discovery will be completed within six months after the filing of

responsive   pleadings      or    a    motion     staying     filing      of   responsive

pleadings.      If the parties believe a greater discovery time is

necessitated,      you   must    state      why   in   the    proposed     order.       The

parties are directed to include in the proposed scheduling order

the specific date that discovery will expire.                          Multiple requests

for extensions of the discovery period are strongly discouraged and

will rarely be granted absent exceptional circumstances.                         Agreement

to extensions by all the parties does not constitute exceptional

circumstances.

                         COMPLETE AND TIMELY DISCOVERY

       If disclosures and/or discovery responses are not complete,

including a separate listing of the name and last known address of

each   potential     witness,        then   the   failure         to   provide   complete

disclosure   may    result      in    the    exclusion       of    testimony     from   any

witness who is not properly disclosed.                   It is not sufficient to

disclose the identity of potential witnesses by simply describing

categories    of    persons,         such   as    “all   of       plaintiff’s     medical

providers contained in plaintiff’s medical records.”                           Disclosure

shall be by specific name, if known or reasonably ascertainable.

If specific disclosure is not possible, an explanation as to why

such disclosure is not possible shall be given.




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        No discovery request may be served, without leave of court,

unless the due date for the response to the request under the rules

occurs prior to the expiration of the discovery period.

        The parties shall be under a continuing duty to supplement all

disclosures and responses in accordance with Rule 26(e).                             When such

supplementation is required, the supplemental responses shall be

served upon the opposing party within fourteen days of learning of

the   information      requiring      the       supplemental     response,          unless   the

Court    otherwise     extends       the    supplemental         response          period    upon

motion of a party.

                                    EXPERT DISCOVERY

        Any   party   who    desires       to    use    the   testimony       of     an   expert

witness will be required to designate the expert according to the

following      schedule,      so     that       the     expert    will        be    identified

sufficiently early in the discovery period to give the opposing

party the opportunity to depose the expert.                       A plaintiff desiring

to use the testimony of an expert must disclose the identity of the

expert within 90 days after the filing of the last answer of the

defendants named in the original complaint.                       A defendant desiring

to use the testimony of an expert must disclose the identity of the

expert within 120 days after the filing of the last answer of the

defendants     named    in    the    original          complaint.        In    the     event    a

defendant designates an expert where plaintiff has not previously

designated an expert, plaintiff shall have an additional 30 days to

designate a rebuttal expert witness.                     Any disclosure of an expert

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witness retained or specially employed to provide expert testimony

in the case or one whose duties as a party’s employee regularly

involve giving expert testimony must be accompanied by a written

report prepared and signed by the expert in accordance with the

requirements of Rule 26(a)(2)(B).                       Any disclosure of an expert

witness who is not required to provide a written expert report

under    Rule    26(a)(2)(B)         must   comply       with    Rule     26(a)(2)(C)     and

disclose the identity of the witness, the subject matter on which

the witness is expected to present expert testimony, and a summary

of the facts and opinions to which the witness is expected to

testify.            The      provisions     of      this        order     concerning      the

identification of expert witnesses may not be changed by the Joint

Scheduling/Discovery Order submitted by the parties.

        Unless otherwise ordered by the Court, any motions to exclude

expert testimony pursuant to Federal Rule of Evidence 702 and/or

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) shall be

filed within 21 days after the court’s ruling on the last pending

motion for summary judgment.                If no summary judgment motion is

filed    by   the     date    that    dispositive        motions    are    due,    then   any

Daubert motions shall be filed within 21 days after the due date

for   filing     dispositive         motions.       If    an    evidentiary    hearing    is

necessary       for   the     resolution     of     a    Daubert    motion,       the   party

requesting the hearing shall file a written request for hearing at

the time of the filing of the motion or the response to the motion.




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The parties shall include the foregoing requirements described in

this paragraph in their proposed scheduling order.

                             DISPOSITIVE MOTIONS

     All dispositive motions shall be filed within 45 days of the

close of discovery and briefs in support of the motions shall not

exceed 20 pages unless otherwise ordered by the Court.               Pursuant to

Local Rule 7, respondent shall have 21 days and no more than 20

pages to respond to the dispositive motion and movant shall have 14

days thereafter and no more than 10 pages to file a reply.                    The

parties shall include in the proposed scheduling order the specific

date by which dispositive motions shall be filed.

                           AMENDMENT OF PLEADINGS

     A deadline for amending pleadings shall be included in the

proposed    scheduling    order.   A   party   is   not   required    to   obtain

consent or leave of court to file amended pleadings as long as the

amended pleadings are filed prior to the deadline in the scheduling

order.

                     ORDERS REGARDING CONFIDENTIALITY

     All filings shall be a matter of public record and shall only

be sealed from public disclosure in limited circumstances by order

of the Court.      The Court will closely scrutinize all requests for

confidentiality protective orders.          Even when such requests are

deemed     appropriate,      the    Court      finds,     absent      compelling

circumstances, that such orders do not apply to exclude evidence

from public disclosure when that evidence is relied upon in support

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of or opposition to any motion or relevant issue in any hearing or

trial.     There is a presumption that any evidence relied upon in a

filed motion or in opposition to any such motion or to be used in a

hearing    or    trial     shall    be    a    public         record.      Accordingly,     when

materials are to be used in the foregoing manner, a party will not

be allowed to file the materials under seal just because they are

covered by a discovery protective order.

                     REQUESTS TO EXCEED PAGE LIMITATIONS

        Requests for extension of page limitations should rarely be

made because such requests generally reflect a failure to focus

upon    the     relevant    issues       in    a       concise    and     thoughtful     manner.

Therefore, extensions will only be granted in exceptional cases.

When an extension of pages is permitted, the brief shall include a

table of contents.

                           CASES REMOVED FROM STATE COURT

        For all cases removed from state court that had motions and/or

discovery       requests    pending       prior        to     removal,    the   parties    shall

address         in    the        proposed              scheduling         order     how      the

motion[s]/discovery         requests          shall      be    addressed     in   this    Court,

including     whether      the     motion/discovery             request    should   be    deemed

moot,    whether     the    motion       is    ripe      for     ruling,    and   whether    the

motion/discovery request should be addressed in accordance with the

schedule set forth in the proposed scheduling order.

                                 DISCLOSURE STATEMENT




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       Each nongovernmental corporate party must file a statement

that   identifies    any   parent   corporation   and   any   publicly   held

corporation that owns 10% or more of its stock or states that there

is no such corporation.       The deadline for filing the statement is

set forth in Fed. R. Civ. P. 7.1, and if not filed sooner, the

statement must in any event be filed within 14 days of the date of

this Order.    A supplemental statement must be filed upon any change

in the information that the statement requires.

                              COURTESY COPIES

       Do not send courtesy copies of letters, motions or briefs to

the judge or chambers.

       SO ORDERED, this 8 February 2018.

                                    s/ CLAY D. LAND
                                    CLAY D. LAND
                                    CHIEF UNITED STATES DISTRICT JUDGE




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